                       IN THE UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION



PLASMA-THERM LLC,                              )
                                               )
                              Plaintiff,       )
                 v.                            ) Civil Action No.: 8:15-cv-02785-CEH-TBM
                                               )
MICRO PROCESSING TECHNOLOGY,                   )
INC.,                                          )
                                               )
                      Defendant.
                                               )
                                               )



  PLAINTIFF/COUNTER-DEFENDANT PLASMA-THERM LLC’S MOTION FOR
SANCTIONS PURSUANT TO FED. R. CIV. P. 11 AGAINST DEFENDANT/COUNTER-
          PLAINTIFF MICRO PROCESSING TECHNOLOGY, INC.

       Plaintiff/Counter-Defendant, Plasma-Therm LLC (“Plasma-Therm”), by counsel and

pursuant to Fed. R. Civ. P. 11 (“Rule 11”), moves this Court for sanctions against

Defendant/Counter-Plaintiff, Micro Processing Technology, Inc. (“MPT”) and its attorneys

Anthony A. Ferrigno, Lawrence E. Laubscher, Jr., Donald H. Crawford II, and Robert D. Zebro

(collectively the “Attorneys”), for failing to conduct the required pre-filing investigation before

filing its counterclaims alleging that Plasma-Therm has infringed U.S. Patent Nos. 8,450,188

(“the ‘188 patent”), 8,906,745 (“the ‘745 patent”), and 9,153,493 (“the ‘493 patent”)

(collectively, “the patents-in-suit”). Plasma-Therm submits this memorandum of law in support

of its motion.

       In accordance with Rule 11, this Motion for Sanctions was served under Rule 5 on MPT

(through its counsel) and on its Attorneys on January 30, 2017. The pleadings and other papers


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that were filed and subject to this motion (as explained below) were not withdrawn within

twenty-one (21) days of service of the Motion for Sanctions, thereby necessitating the filing of

this motion with the Court.


  I.   INTRODUCTION

       Before filing a complaint or counterclaim for patent infringement, Rule 11 requires the

patent owner to conduct an infringement analysis, including, at a minimum, a comparison of the

accused product to the claims of the asserted patents. When a patent owner has failed to conduct

a sufficient analysis, Rule 11 requires the imposition of an appropriate sanction.

       Prior to filing its counterclaims accusing Plasma-Therm of infringing the patents-in-suit,

MPT utterly failed to meet the exacting pre-filing investigation standard of Rule 11. MPT’s

threadbare allegations reveal that MPT has failed to compare any accused product to any claims

of the patents-in-suit. Indeed, MPT’s counterclaims do not identify any allegedly infringing

product or conduct, or even one claim of the patents-in-suit that is allegedly infringed. MPT’s

discovery responses further confirm that MPT has not conducted the required infringement

analysis, and is instead basing its counterclaims on unfounded speculation. MPT’s baseless

accusations are precisely the type of conduct that Rule 11 is intended to deter, such that MPT and

its Attorneys should be sanctioned.


 II.   BACKGROUND

       On November 27, 2015 MPT sent a demand letter to Plasma-Therm alleging that Plasma-

Therm was infringing MPT’s intellectual property rights with regard to its back metal processing

technology. The demand letter was predicated on nothing more than MPT’s unfounded belief

that Plasma-Therm must be infringing MPT’s patents by virtue of Plasma-Therm’s relationship

with third-party ON Semiconductor (“ON”), and Plasma-Therm’s refusal to enter into a business

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relationship with MPT. A true and correct copy of the demand letter is attached hereto as

Exhibit A.

       In order to clear its name from MPT’s baseless allegations, Plasma-Therm commenced

this declaratory judgment action against MPT on December 3, 2015, seeking a declaration of

non-infringement with respect to the patents-in-suit. Since the beginning of the case, MPT has

complained that it does not know how Plasma-Therm is performing back metal processing.

From June 2016 to December 2016, MPT served a series1 of preliminary infringement

“contentions,” none of which provided any indication of how MPT believes Plasma-Therm is

infringing. In each of the contentions, MPT baldly alleged that Plasma-Therm infringes the

independent claims of the patents-in-suit, without explaining how Plasma-Therm infringes, or

even identifying an accused product. MPT explained the lack of detail in its contentions by

stating that the contentions are “based on a preliminary understanding of information currently

available to MPT, and MPT reserves the right to amend or supplement these contentions as its

investigation and discovery proceed.” See e.g., Dkt. 50-2 (MPT’s Preliminary Infringement

Contentions). However, MPT has not served interrogatories seeking information that might

support an infringement claim–in fact, MPT has not served any interrogatories at all in this case.

       Nevertheless, despite proclaiming that it lacks information to provide more detailed

contentions, and failing to diligently conduct discovery in the nearly twelve months since

discovery opened, MPT has filed unsupported counterclaims alleging that Plasma-Therm

infringes the patents-in-suit. See Dkt. 85 ¶¶ 28-42. MPT can’t have it both ways–it cannot on

the one hand complain that it needs more information to prepare infringement contentions, while



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  MPT initially alleged that Plasma-Therm infringed only the ‘745 patent, but subsequently
amended its contentions twice to add infringement allegations for the ‘188 patent and the ‘493
patent, respectively.
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on the other hand meet its Rule 11 obligation for filing infringement counterclaims. MPT’s

discovery responses, and the lack of detail provided in MPT’s counterclaims, confirm that MPT

and its counsel failed to conduct an adequate pre-filing investigation before filing its

counterclaims. Rather, MPT’s counterclaims are based on its mere suspicion that Plasma-Therm

must be infringing the patents-in-suit because Plasma-Therm declined to enter into a business

relationship with MPT, and Plasma-Therm’s current business relationship with ON. See Dkt.

No. 85 at ¶¶ 10, 11, 18-42. Notably, in each count for patent infringement, MPT fails to identify

any specific product developed by Plasma-Therm, how that product allegedly infringes the

patents-in-suit, or what claims are allegedly infringed. Id. at ¶¶ 28-42.

       MPT’s failure to compare the claims of the patents-in-suit to an accused product before

filing the counterclaims violates Rule 11 and warrants sanctions against MPT and its Attorneys.


III.   ARGUMENT

       A.      Rule 11 Standard

       “[T]he central purpose of Rule 11 is to deter baseless filings in District Court . . . . Rule

11 imposes a duty on attorneys to certify that they have conducted a reasonable inquiry and have

determined that any papers filed with the court are well-grounded in fact.” Cooter & Gell v.

Hartmarx Corp., 496 U.S. 384, 393 (1990). Rule 11 states, in part:

       By presenting to the court a pleading . . . an attorney . . . certifies that to the best of the
       person’s knowledge, information, and belief, formed after an inquiry reasonable under
       the circumstances . . . . the factual contentions have evidentiary support or, if specifically
       so identified, will likely have evidentiary support after a reasonable opportunity for
       further investigation or discovery.

(emphasis added). With regard to patent infringement cases, Rule 11 requires attorneys to

conduct an independent infringement analysis, comparing the claims of the patents-in-suit to the

accused product before claiming patent infringement. View Eng’g, Inc. v. Robotic Vision Sys.,

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208 F.3d 981, 986 (Fed. Cir. 2000); PPS Data, LLC v. Athenahealth, Inc., No. 3:11-CV-746-J-

37TEM, 2012 WL 601208, at *1 (M.D. Fla. Feb. 23, 2012) (Rule 11 requires “a fact-intensive

comparison of the accused product and the asserted claim(s)”). Mere reliance on an accused

infringer’s advertising or statements to its customers is not sufficient to satisfy a patentee’s Rule

11 obligation. See View Eng’g, Inc., 208 F.3d at 985. When a party fails to conduct the required

pre-filing analysis, “Rule 11 requires the court to impose ‘an appropriate sanction.’” Judin v.

United States, 110 F.3d 780, 785 (Fed. Cir. 1997); View Eng’g, Inc., 208 F.3d at 986; S. Bravo

Sys. v. Containment Techs. Corp., 96 F.3d 1372, 1375 (Fed. Cir. 1996).

       B.      MPT’s Discovery Responses Confirm That MPT Failed To Comply With
               Rule 11

       MPT and its attorneys failed to conduct any pre-filing investigation before filing its

infringement counterclaims, much less the required analysis of comparing the patent claims to an

accused product. Indeed, in response to Plasma-Therm’s interrogatory requesting the complete

factual and legal bases for MPT’s infringement contentions, MPT merely referenced a

boilerplate response to one of Plasma-Therm’s document requests2, and stated that MPT “has not

yet completed discovery and reserves the right to supplement this response.” See Ex. B (MPT’s

Responses to Plaintiff’s First Set of Interrogatories), at Response to Interrogatory No. 1. Despite

having nearly one year to conduct discovery, MPT has not supplemented its response to

Interrogatory No. 1.




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  MPT referenced its response to Plasma-Therm’s Document Request No. 2 requesting “[a]ll
documents relating to any of the Accused Products,” to which MPT responded: “Without
waiving these objections and subject thereto, Defendant is performing a search for relevant
documents pertaining to the patents in suit and will produce same once they have been identified,
reviewed for privilege, and prepared for production.” See Ex. C (MPT’s Responses to Plasma-
Therm’s First Set of Requests for Production of Documents and Things).
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       Plasma-Therm also propounded interrogatories seeking an explanation of how MPT first

became aware of Plasma-Therm’s alleged infringement (Interrogatory No. 2), and what

information MPT reviewed to determine the nature and scope of the accused products before

sending the cease and desist letter (Interrogatory No. 3). See Ex. B at 3-5. In response, MPT

provided three bases for its infringement allegations. First, MPT noted that an ON employee,

Mr. Gordy Grivna, informed MPT that ON had threatened to sue Plasma-Therm in 2014 for

allegedly infringing an ON patent “regarding flipping a semiconductor wafer over onto another

piece of tape and cutting the back metal with a water jet, referred to as ‘jet ablation.’” See Ex. D

(MPT’s Supplemental Responses to Plaintiff’s First Set of Interrogatories), at 2. However,

whether ON threatened to sue Plasma-Therm for allegedly infringing a completely unrelated

patent is irrelevant to whether Plasma-Therm infringes the patents-in-suit.


       Second, MPT stated that it became suspicious of Plasma-Therm’s alleged infringement of

the ‘493 patent when Plasma-Therm personnel inquired about MPT’s “stylus system,” and

expressed interest in having MPT develop and sell back metal processing equipment, but

subsequently refused to include a non-compete clause in a sales agreement the parties were

negotiating. Id. at 2-3. MPT assumes that Plasma-Therm would not agree to the non-compete

clause because Plasma-Therm must be infringing MPT’s patents. But such bald assumptions are

insufficient under Rule 11; rather, MPT and its attorneys must compare the accused device to the

patent claims. See Judin, 110 F.3d at 784 (affirming sanctions and finding that “attorney acted

unreasonably in giving blind deference to his client”); S. Bravo Sys., 96 F.3d at 1375 (affirming

district court imposing sanctions because attorney relied on client’s lay opinion and did not

conduct an independent investigation “compar[ing] the accused devices with the patent claims”).




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       Third, with respect to the alleged infringement of the ‘188 and ‘745 patents, MPT

referenced alleged communications from Mr. Grivna stating that ON and MPT had entered into a

joint development program with Plasma-Therm “to develop a back metal cleaving system using

high pressure fluid to cleave all of the back metal on a wafer at one time.” Ex. D at 3. MPT also

referenced a number of documents it has produced in this case, which are communications

between MPT and Plasma-Therm about a possible business relationship, but in no way describe

any Plasma-Therm products or processes that might infringe the patents-in-suit. See id. at 2-3.

However, relying on general statements from Mr. Grivna or Plasma-Therm is not a substitute for

conducting an actual infringement analysis, as required by Rule 11. See View Engineering, 208

at 985 (affirming Rule 11 sanctions where patentee relied only on alleged infringer’s advertising

and statements to customers, and did not compare patent claims to accused product).


       In addition, Interrogatory No. 12 asked MPT to provide its factual and legal bases for

denying Plasma-Therm’s Requests for Admission 1-5, which asked MPT to admit that it had no

knowledge of whether Plasma-Therm had performed the steps of claim 1 of the ‘745 patent

before sending the cease and desist letter. See Ex. E (MPT’s Responses to Plaintiff’s First Set of

Requests for Admission). MPT responded by citing to the same communications between MPT

and Plasma-Therm about entering into a business relationship, none of which provides any detail

about any allegedly infringing Plasma-Therm product.         See Ex. D at 5-6.      Again, these

communications relate to a proposed business arrangement, and fall far short of the detailed

infringement analysis required by Rule 11.


       MPT’s failure to conduct an adequate pre-filing investigation is strikingly similar to the

patentee’s failure in View Engineering, where the Federal Circuit affirmed sanctions against the



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patentee’s attorney. View Eng’g, Inc., 208 F.3d at 986.3 Like here, the accused infringer in View

Engineering filed a declaratory judgment action seeking a finding of non-infringement. Id. at

982. A few months later, after conducting limited discovery, the patentee filed counterclaims,

accusing plaintiff of patent infringement. Id. at 982-83. However, at the time the patentee filed

its counterclaims it had never seen the accused product, and its accusations of infringement were

solely based upon its belief that plaintiff was infringing due to plaintiff’s advertising and

statements to its customers. Id. at 983, 985. Importantly, the patentee’s attorneys did not

conduct an independent claim construction or infringement analysis before filing counterclaims

for patent infringement, and when asked how plaintiff infringed on an element by element basis,

the patentee’s attorney “responded that ‘it could not do so in that sort of detail until [it] learned

what [plaintiff] actually did.’” Id. The Federal Circuit affirmed Rule 11 sanctions against

patentee’s attorney, finding that Rule 11 requires the attorney to, “at a bare minimum, apply the

claims of each and every patent that is being brought into the lawsuit to an accused device and

conclude that there is a reasonable basis for a finding of infringement of at least one claim of

each patent so asserted.” Id. at 986 (emphasis added).


       Like in View Engineering, MPT and its attorneys failed to conduct a reasonable pre-filing

inquiry before asserting counterclaims for patent infringement against Plasma-Therm, and

instead rely solely on MPT’s unsubstantiated suspicion. MPT bases its infringement suspicion

on its failed negotiation with Plasma-Therm, and alleged business dealings with ON. But as the

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  Rule 11 permits this Court to not only sanction MPT’s attorneys but also MPT. Rule 11(c)
states: “If, after notice and a reasonable opportunity to respond, the court determines that Rule
11(b) has been violated, the court may impose an appropriate sanction on any attorney, law firm,
or party that violated the rule or is responsible for the violation.” For example, in Judin, the
Federal Circuit affirmed the district court imposing sanctions on both the plaintiff and his
attorney after they commenced a patent infringement suit before conducting a reasonable pre-
filing inquiry. Judin, 110 F.3d at 784-85. Likewise, this Court should hold both MPT and its
Attorneys accountable.
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Federal Circuit found in View Engineering, “[t]he presence of an infringement analysis plays the

key role in determining the reasonableness of the pre-filing inquiry made in a patent

infringement case under Rule 11.” Id. MPT’s discovery responses make clear that MPT and its

counsel did not conduct any infringement analysis, thus warranting sanctions under Rule 11. See

View Eng’g, 208 F.3d at 986; Q-Pharm., Inc. v. Andrew Jergens Co., 360 F.3d 1295, 1302 (Fed.

Cir. 2004) (“[O]ur case law makes clear that the key factor in determining whether a patentee

performed a reasonable pre-filing inquiry is the presence of an infringement analysis.”);

Antonious v. Spalding & Evenflo Cos., 275 F.3d 1066, 1072 (Fed. Cir. 2002) (“Although the

attorney may consult with the client, Rule 11 requires that the attorney not rely solely on the

client’s claim interpretation, but instead perform an independent claim analysis.”); Judin, 110

F.3d at 784 (affirming sanctions and finding that “attorney acted unreasonably in giving blind

deference to his client”); S. Bravo Sys., 96 F.3d at 1375 (affirming district court imposing

sanctions because attorney relied on client’s lay opinion and did not conduct an independent

investigation “compar[ing] the accused devices with the patent claims”).

       C.      MPT’s Inability To Provide A Coherent Infringement Theory Demonstrates
               Its Failure To Satisfy Rule 11

       MPT’s inability to provide any detail as to how Plasma-Therm allegedly infringes the

patents-in-suit further evidences MPT’s failure to conduct an adequate infringement analysis. See

Atlas IP, LLC v. Exelon Corp., 189 F. Supp. 3d 768, 775 (N.D. Ill. 2016) (“Indeed, given the

investigation that Rule 11(b) requires before filing a complaint, it is difficult to imagine how an

action for infringement could be brought without a tentative but nonetheless coherent theory of

which claims are allegedly infringed and how the accused products practice . . . each of those

claims’ elements”).    For example, neither MPT nor its attorneys have identified in its

counterclaims, with any specificity whatsoever, a product developed by Plasma-Therm that it


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believes infringes the patents-in-suit, or how any such product infringes. Rather, MPT merely

alleges that Plasma-Therm infringes the patents-in-suit by “making, using, selling, and/or

offering to sell . . . infringing products.” Dkt. No. 85, at ¶¶ 29, 34, 39 (emphasis added).


       The lack of substance in MPT’s counterclaims is consistent with the lack of substance

MPT has provided during discovery in this case. In addition to its failure to substantively

respond to Plasma-Therm’s contention interrogatories, MPT has provided bare bone preliminary

infringement contentions that provide no explanation of how MPT believes Plasma-Therm

infringes the patents-in-suit. Specifically, on June 17, 2016, MPT served its preliminary

infringement contentions baldly alleging that Plasma-Therm infringes only claims 1 and 19 of

the ‘745 patent, without identifying any accused product or how any Plasma-Therm product

practices any limitations of the asserted claims. See Dkt. 50-2 (MPT’s Preliminary Infringement

Contentions). On October 3, 2016, MPT served amended preliminary infringement contentions,

which contained similarly unsupported allegations that Plasma-Therm infringes claims 1, 16, and

17 of the ‘188 patent. See Dkt. 55-1 (MPT’s Amended Preliminary Infringement Contentions).

Plasma-Therm promptly moved to strike MPT’s contentions (Dkt. 50), and amended contentions

(Dkt. 55). In response, MPT essentially admitted that it lacked the factual basis to provide

additional support, stating that “the Amended Preliminary Contentions are based on the facts at

hand” and that “MPT anticipates being able to provide more detailed infringement contentions

following the depositions” that the parties were attempting to schedule.4 Dkt. 64, at 3.

       This Court denied Plasma-Therm’s motions to strike, but also ordered MPT to amend its

preliminary infringement contentions to include contentions with regard to the ‘493 patent. Dkt.


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 Plasma-Therm has repeatedly provided available deposition dates, but MPT is still negotiating
a confidentiality agreement with ON before moving forward with the corporate deposition of
Plasma-Therm.
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79. MPT submitted its second amended preliminary infringement contentions on December 28,

2016, which contained the unsupported allegation that Plasma-Therm infringes claim 1 of the

‘493 patent. See Ex. F (MPT’s Second Amended Preliminary Infringement Contentions). That

is, in the six months between MPT’s initial preliminary infringement contentions and its second

amended preliminary infringement contentions, MPT has apparently still not conducted an

infringement analysis that would enable it to provide any support for its contentions or its newly

filed counterclaims.

       Roughly three weeks after serving its sparse second amended preliminary infringement

contentions, MPT filed its infringement counterclaims, which similarly fail to identify an

accused product or explain how the unidentified accused product infringes the patents-in-suit.

MPT has had more than enough time to conduct an adequate pre-filing investigation, but has

clearly failed to do so. See View Eng’g, 208 F.3d at 986 (sanctioning patentee for filing baseless

infringement counterclaims four months after declaratory judgment complaint was filed, over

patentee’s objection that it had not had an opportunity to complete discovery). Indeed, although

discovery has been ongoing for nearly one year, MPT has still not served a single interrogatory.

MPT’s decision to file infringement counterclaims without a sufficient pre-filing investigation

warrants sanctions under Rule 11. See Source Vagabond Sys. v. Hydrapak, Inc., 753 F.3d 1291,

1298 (Fed. Cir. 2014) (“[d]efending against baseless claims of infringement subjects the alleged

infringer to undue costs—precisely the scenario Rule 11 contemplates”).

IV.    CONCLUSION

       For the foregoing reasons, Plasma-Therm respectfully requests that this Court enter an

order against MPT and its attorneys Anthony A. Ferrigno, Lawrence E. Laubscher, Jr., Donald

H. Crawford II and Robert D. Zebro:



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      (1) Imposing sanctions against MPT and its attorneys Anthony A. Ferrigno, Lawrence E.

          Laubscher, Jr., Donald H. Crawford II, and Robert D. Zebro;

      (2) Directing MPT and its attorneys Anthony A. Ferrigno, Lawrence E. Laubscher, Jr.,

          Donald H. Crawford II, and Robert D. Zebro to reimburse Plasma-Therm its

          attorneys’ fees and costs incurred to defend against its baseless claims of

          infringement;

      (3) Finding MPT and its attorneys Anthony A. Ferrigno, Lawrence E. Laubscher, Jr.,

          Donald H. Crawford II, and Robert D. Zebro jointly and severally liable to Plasma-

          Therm for the fees and costs awarded to Plasma-Therm;

      (4) For such other relief that this Court deems just and proper under the circumstances.




                                                    Respectfully submitted,
Dated: February 27, 2017                            BURR & FORMAN, LLP
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                                  CERTIFICATE OF SERVICE
       I HEREBY CERTIFY that on February 27, 2017, I electronically filed the foregoing with

the Clerk of the Court by using the CM/ECF system which will send a notice of electronic filing

to all counsel of record.


                                           /s/ Ryan M. Corbett
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